Case 2:18-cv-03549-GRB-ST Document 39-4 Filed 03/01/19 Page 1 of 3 PageID #: 557




                                EXHIBIT D
          Case 2:18-cv-03549-GRB-ST Document 39-4 Filed 03/01/19 Page 2 of 3 PageID #: 558


Sent:       Wed, 7 Nov 2012 13:04:30 -0500
Subject: Thank You for Helping Protect the Vote!
From:       Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:         William Brooks <williamb@tourolaw.edu>, Aura Zuniga <Aura.Zuniga@maketheroadny org>, Sara Cullinane
<Sara.Cullinane@maketheroadny.org>, Sebastian Sanchez <sebastian Sanchez@maketheroadny.org>, dahsong.kim@law.nyu.edu
Raul-Perez <raul-perez@tourolaw.edu>, joshua-jacobs@tourolaw.edu
Cc:         Deborah Axt <Deborah.Axt@maketheroadny org>, Marika Dias <marika.dias@maketheroadny.org>, Lorelei Salas
<lorelei.salas@maketheroadny.org>, Daniel Coates <Daniel.Coates@maketheroadny.org>, Karina Claudio
<Karina.Claudio@maketheroadny.org>

Hi All,
Thank you to all of you for contributing to our election protection effort yesterday! We really appreciate your time and
commitment.

For those in NYC, it would be great if you could share with me if issues that came up.

I also wanted to give everyone a sense of why this effort is so important. On Long Island, we uncovered various
irregularities yesterday and provided vital information to voters who were being given misinformation (as well as dozens <
rides to people who otherwise couldn't get to the polls). Below are some of the problems that were not a result of all the
Sandy-related chaos.

1) Working with NYCLU, we learned that the Suffolk BOE was not honoring the state's online voter registration system.
 We responded immediately, pulling together a group of organizations to send out a coordinated press release (here) and
generating media attention from the WSJ, Newsday, and El Diario (see links below). We're going to follow up on this in 1
days ahead, as it may mean that hundreds (and possibly thousands) of people were disenfranchised in Suffolk this year. T<
put this in perspective, one Assembly race in Suffolk is currently separated by only 36 votes.

We also had cases of the following:
2. Poll workers requesting ID from first time voters when inappropriate

3. County BOE officials thinking that ALL first time voters have to show ID and telling poll workers that.

4. Poll workers trying to intimidate voters and influence votes (one poll worker tried to tell a voter to vote for Romney and pointed to the
Republican line on the ballot, and asked to see the ballot after she filled it out)

5. Poor posting of information at locations that had changed. We have one story where a voter went to her polling place which was closed, b
there was a list posted of sites where her poll place might now be located. She didn't know which one to go to and called the Civic
Engagement Table's hotline.

We're going to follow up on this, but thank you for being a part of this important effort.

Daniel

WSJ, http //bloqs wsi com/metropolis/2012/11/06/observers-find-fault-with-voter-reqistration-policv-in-suffolk-
countv/'7mod=WSJBIoa&mod=WSJ NY NY Bloq
Newsday: http //www newsday com/lonq-island/votinq-machine-failures-in-nassau-voter-roll-dispute-in-suffolk-1 4194810
El Diario. http //www eldianonv com/No-faltaron-los-contratiempos
Release1 http //www nyclu orq/news/nvclu-communitv-qroups-cnticize-suffolk-countv-reiectinq-online-voter-reqistration-application

On Fri, Nov 2, 2012 at 8:17 PM, Daniel Altschuler <daniel.altschuler@maketheroadnv.org> wrote:

   Hi All,
   Thanks so much for your willingness to help out with election protection on Tuesday!

   The idea is that lawyers will be on hand to answer questions and law students / volunteers will be on hand to triage
   phone calls. But first, we need to train folks.

   So here's the deal: NYCLU is doing an election protection training webinar on Monday at 5pm. It should go for about
   Oil   t-VMt-»ii-fckn
      Case 2:18-cv-03549-GRB-ST Document 39-4 Filed 03/01/19 Page 3 of 3 PageID #: 559


 For those participating on Tuesday, can you let me know if you'll be able to join the webinar? We can then take it from
 there.

 All my best,
 Daniel




 Daniel Altschuler
 Coordinator. Long Island Civic Engagement Table
 917-494-5922
 Join Us: www.licivicengagement.org
 Support Our Work: https://licivicengagement.nationbuilder.com/donate
 Facebook: Long Island Civic Engagement Table
 Twitter: (Stlicivicengage




Daniel Altschuler
Coordinator, Long Island Civic Engagement Table
917-494-5922
Join Us: www.licivicengagement.org
Support Our Work: https://licivicengagement.nationbuilder.com/donate
Facebook: Long Island Civic Engagement Table
Twitter: @Jicivicengage
